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                    IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF NEW MEXICO


PUEBLO OF JEMEZ, a federally           )
recognized Indian tribe,               )      Case No. 1:12-cv-800(JB)(JHR)
                                       )
            Plaintiff,                 )
                                       )
v.                                     )
                                       )
UNITED STATES OF AMERICA,              )
                                       )
            Defendant,                 )
                                       )
and                                    )
                                       )
NEW MEXICO GAS COMPANY,                )
                                       )
            Defendant-in Intervention. )
                                       )
____________________________________)


                      NOTICE OF COMPLETION OF BRIEFING




                                JEFFREY WOOD
                                Acting Assistant Attorney General

                                PETER KRYN DYKEMA, DC Bar No. 419349
                                MATTHEW MARINELLI, IL Bar No. 6277967
                                JACQUELINE LEONARD, NY Bar No. 5020474
                                United States Department of Justice
                                Environment & Natural Resources Division
                                Natural Resources Section
                                P. O. Box 7611
                                Washington, D.C. 20044-7611
                                Dated: September 13, 2018
       Case 1:12-cv-00800-JB-JHR Document 267 Filed 09/13/18 Page 2 of 3



       Briefing related to the United States’ Motion for Summary Judgment, filed August 17,

2018 (ECF No. 232) is complete, and the Motion is ready for decision. As of the date of filing of

this Notice, the following documents relating to the Motion have been filed by the Parties:

       1. Federal Defendant United States’ Motion for Summary Judgment, filed on August 17,
          2018 (ECF No. 232);
       2. Plaintiff Pueblo of Jemez’s Response in Opposition to the United States’ Motion for
          Summary Judgment, filed on August 31, 2018 (ECF No. 251); and
       3. Federal Defendant United States’ Reply in Support of its Motion for Summary
          Judgment, filed on September 13, 2018 (ECF No. 263).


Dated: September 13, 2018
                                               Respectfully Submitted,
                                               JEFFREY WOOD
                                               Acting Assistant Attorney General

                                               _/s/ Matthew Marinelli
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       Case 1:12-cv-00800-JB-JHR Document 267 Filed 09/13/18 Page 3 of 3



                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2018, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF System which will send notification of such filing to the
parties entitled to receive notice.
                                                      /s/ Jacqueline M. Leonard
                                                     Jacqueline M. Leonard
